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AO 108 (Rev. 06/09) Application for a Warrant to Seize Property Subject to Forfeiture




                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                           SouthernDistrict
                                                        __________ Districtof
                                                                            of__________
                                                                              Ohio

                In the Matter of the Seizure of                                  )
             (Briefly describe the property to be seized)                        )
  All funds— including crypto-currency—stored in the                             )      Case No. 2:21-mj-702
   Gemini Account associated to Account ID 61668,                                )
                  Group ID 1061668.                                              )

                                                APPLICATION FOR A WARRANT
                                         TO SEIZE PROPERTY SUBJECT TO FORFEITURE


        I, a federal law enforcement officer or attorney for the government, request a seizure warrant and state under
penalty of perjury that I have reason to believe that the following property in the      Southern    District of
          New York            is subject to forfeiture to the United States of America under      18    U.S.C. §
   981 & 982    (describe the property):
 All funds— including crypto-currency—stored in the Gemini Account associated to Account ID 61668, Group ID
 1061668.




          The application is based on these facts:
 See Attached affidavit of support




          u Continued on the attached sheet.


                                                                                                        Applicant’s signatu
                                                                                                                    signature

                                                                                                         Gregory Libow
                                                                                                       Printed name and title



Sworn to before me and signed in my presence.


             October 29, 2021
Date:
                                                                                                         Judge’s signature

City and state: Columbus, Ohio                                                          Kimberly A. Jolson, United States Magistrate Judge
                                                                                                       Printed name and title
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     AFFIDAVIT IN SUPPORT OF APPLICATIONS FOR SEIZURE WARRANTS

                I, Gregory Libow, being duly sworn under oath, depose and say:

                                       INTRODUCTION

1. I am a Special Agent with the HSI and have been since May of 2019. I am assigned to

   the Central Ohio Cyber Drug Taskforce (COCDTF) in Columbus, Ohio, where I am is

   responsible for conducting narcotics investigations involving dark web

   marketplacesࣟ Prior to becoming a Special Agent, I was employed as a United States

   Customs and Border Protection (CBP) Officer for 8 \HDUVௗ:KLOHZRUNLQJIRU&%3,ZDV

   assigned to Columbus, Ohio and worked alongside HSI and other law enforcement

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   Agent, I am authorized to investigate violations of the laws of the United States and to

   H[HFXWHZDUUDQWVLVVXHGXQGHUWKHDXWKRULW\RIWKH8QLWHG6WDWHVௗ6LQFHZRUNLQJIRU+6,

   I have been involved in narcotics-related arrests, executed search warrants that resulted in

   the seizure of narcotics, and particiSDWHGLQQDUFRWLFVLQYHVWLJDWLRQVௗ7KURXJKWUDLQLQJ

   and experience, I am familiar with the manner in which persons involved in the illicit

   GLVWULEXWLRQRIFRQWUROOHGVXEVWDQFHVRIWHQRSHUDWHௗ

2. Based on my training, experience, and participation in drug trafficking and computer-

   related investigations, I know and have observed the following:

       a. I have learned about the manner in which individuals and organizations distribute

           controlled substances throughout the United States;

       b. I know drug traffickers often purchase and/or title assets in fictitious names,

           aliases or the names of relatives, associates, or business entities to avoid detection

           of these assets by government agencies. I know that even though these assets are
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           in the names other than the drug traffickers, the drug traffickers actually own

           and continue to use these assets and exercise dominion and control over them;

       c. I know drug traffickers must maintain on-hand large amounts of crypto-currency

           and U.S. currency to include stored in financial accounts readily accessible in

           order to maintain and finance their ongoing drug business;

       d. I know when drug traffickers amass large proceeds from the sale of drugs, the

           drug traffickers attempt to legitimize these profits through money laundering

           activities. To accomplish these goals, drug traffickers utilize the following

           methods, including, but not limited to: domestic and international banks and their

           attendant services, securities brokers, professionals such as attorneys and

           accountants, casinos, real estate, shell corporations and business fronts and

           otherwise legitimate businesses which generate large quantities of currency; and

       e. I know that Bitcoin and other crypto currency accounts are often times used by

           drug traffickers to launder money or conceal drug proceeds because of the

           anonymity associated with the use of Bitcoin and other crypto currency accounts

           and because crypto currency is decentralized.


                                  PURPOSE OF AFFIDAVIT

3. This affidavit is submitted in support of an application for a combined criminal and civil

   forfeiture seizure warrant for all funds and digital currencies in the following Gemini

   Trust Company LLC account:

       f. All remaining funds—including cryptocurrencies—stored in the Gemini Trust

           Company LLC belonging to Rex Devon TAYLOR, User ID 61838.


(collectively, hereafter, the “SUBJECT ACCOUNT”).
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4. As set forth below, I submit that there is probable cause to believe that the SUBJECT

   ACCOUNT is property constituting, or derived from, proceeds obtained, directly or

   indirectly, as a result of violations of 21 U.S.C. § 841 (To manufacture, distribute, or

   dispense a controlled substance) and 21 U.S.C. § 846 (conspiracy to distribute and

   possess with intent to distribute, controlled substances, including distribution by means of

   the Internet). The SUBJECT ACCOUNT is therefore subject to forfeiture to the United

   States under 21 U.S.C. § 853.


5. I further submit that there is probable cause to believe that the SUBJECT ACCOUNT

   constitutes (1) moneys, negotiable instruments, securities, or other things of value

   furnished or intended to be furnished in exchange for a controlled substance, in violation

   of the Controlled Substances Act (“CSA”); (2) proceeds traceable to such an exchange;

   or (3) moneys, negotiable instruments, or securities used or intended to be used to

   facilitate a violation of the CSA. The SUBJECT ACCOUNT is therefore subject to

   forfeiture to the United States under 21 U.S.C. § 881(a)(6).

6. Additionally, there is probable cause to believe that the SUBJECT ACCOUNT

   constitutes property involved in a money laundering transaction or money laundering

   conspiracy, in violation of 18 U.S.C. § 1956, or are traceable to such property. The

   SUBJECT ACCOUNT is, therefore, subject to forfeiture to the United States pursuant to

   18 U.S.C. §§ 981(a)(1) (civil forfeiture) and 982(a)(1) (criminal forfeiture).

7. Because this affidavit is submitted for the limited purpose of obtaining warrants

   authorizing the seizure of the SUBJECT ACCOUNT, I am not including every fact

   known to me about DEFENDANT or the larger investigation.
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8. This affidavit is based upon my own personal observations, my training and experience,

   discussions with other agents who are familiar with this investigation, and information

   collected during this investigation through, among other things, witness interviews, law

   enforcement investigation reports, information obtained through searches, and public

   records.

                        FORFEITURE AND SEIZURE AUTHORITY

9. As to civil forfeiture, under 21 U.S.C. § 881(a), “[t]he following shall be subject to

   forfeiture to the United States and no property right shall exist in them: . . . (6) All

   moneys, negotiable instruments, securities, or other things of value furnished or

   intended to be furnished by any person in exchange for a controlled substance or

   listed chemical in violation of this subchapter, all proceeds traceable to such an

   exchange, and all moneys, negotiable instruments, and securities used or intended

   to be used to facilitate any violation of this subchapter.” Property subject to civil

   forfeiture under 21 U.S.C. § 881(a) may be seized pursuant to 18 U.S.C. § 981(b) (by 21

   U.S.C. § 881(b)). Under 18 U.S.C. § 981(a)(1)(A), “[a]ny property, real or personal,

   involved in a transaction in violation of [18 U.S.C. §§ 1956], or any property traceable to

   such property” is subject to forfeiture to the United States. Property subject to civil

   forfeiture under 18 U.S.C. § 981(a)(1) may be seized pursuant to 18 U.S.C. § 981(b).

10. As to criminal forfeiture, under 21 U.S.C. § 853(a), “[a]ny person convicted of a

   violation of this subchapter or subchapter II of this chapter punishable by imprisonment

   for more than one year shall forfeit to the United States, irrespective of any provision of

   State law [inter alia]—(1) any property constituting, or derived from, any proceeds the

   person obtained, directly or indirectly, as the result of such violation; [and] (2) any of the
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   person’s property used, or intended to be used, in any manner or part, to commit, or to

   facilitate the commission of, such violation.” As property subject to criminal forfeiture

   under 21 U.S.C. § 853(a), the SUBJECT ACCOUNT may be seized pursuant to 21

   U.S.C. § 853(f). Under 21 U.S.C. § 970, Section 853 applies in every respect to a

   violation of this subchapter punishable by imprisonment for more than one year,

   including violations of 21 U.S.C. § 963.

11. Under 18 U.S.C. § 982(a)(1), “[t]he court, in imposing sentence on a person convicted of

   an offense in violation of 18 U.S.C. §§ 1956 shall order that the person forfeit to the

   United States any property, real or personal, involved in such offense, or any property

   traceable to such property.” As property subject to criminal forfeiture under 18 U.S.C.

   § 982(a)(1), the SUBJECT ACCOUNT may be seized pursuant to 21 U.S.C. § 853(f) (by

   18 U.S.C. § 982(b)(1).

12. :LWKUHVSHFWWRVHL]XUH86& I VSHFLILFDOO\SURYLGHVWKDWDFRXUW may issue a

   criminal seizure warrant when it “determines that there is probable cause to believe that

   the property to be seized would, in the event of conviction, be subject to forfeiture and

   that a[] [protective] order under [21 U.S.C. § 853(e)] may not be sufficient to assure the

   availability of the property for forfeiture.” As set forth further below, there is a

   substantial risk that the SUBJECT ACCOUNT will be withdrawn, moved, dissipated, or

   otherwise become unavailable for forfeiture unless immediate steps are taken to secure

   them. As a form of cryptocurrency, the SUBJECT ACCOUNT is inherently portable and

   fungible. I therefore submit that a protective order under 21 U.S.C. § 853(e) would not

   be sufficient to assure that the SUBJECT ACCOUNT will remain available for forfeiture.
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    13. Furthermore, pursuant to 18 U.S.C. § 981(b)(3), “[n]otwithstanding the provisions of rule

       41(a) of the Federal Rules of Criminal Procedure, a seizure warrant may be issued

       pursuant to this subsection by a judicial officer in any district in which a forfeiture action

       against the property may be filed under section 1355(b) of title 28, and may be executed

       in any district in which the property is found, or transmitted to the central authority of

       any foreign state for service in accordance with any treaty or other international

       agreement.”

    14. For the reasons listed above, the United States seeks a combined criminal and civil

       seizure warrant, authorizing law enforcement to seize the SUBJECT ACCOUNT and

       preserve it pending further forfeiture proceedings.

               BACKGROUND ON THE DARK WEB & CRYPTOCURRENCY

    15. Based on my training, research, education, and experience, I am familiar with the

       following relevant terms and definitions:

               a.      The “dark web” is a portion of the “deep web 1” of the Internet, where

       individuals must use an anonymizing software or application called a “darknet” to access

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       individuals to buy and sell illegal items, such as drugs, firearms, and other hazardous

       materials, with greater anonymity than is possible on the traditional Internet (sometimes

       called the “clear web” or simply the “web”). These online market websites use a variety of

       technologies, including the Tor network (defined below) and other encryption

       technologies, to ensure that communications and transactions are shielded from



1
  The deep web is the portion of the Internet not indexed by search engines. Examples are databases and
internal networks belonging to private industry, government agencies, or academic institutions.
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        LQWHUFHSWLRQ DQG PRQLWRULQJ )DPRXV GDUN ZHE PDUNHWSODFHV ³':0¶V´  DOVR FDOOHG

        Hidden Services, such as Silk Road 1, Silk Road 2, AlphaBay, and Hansa (all of which

        have since been shut down by law enforcement), operated similarly to clear web

        commercial websites such as Amazon and eBay, but offered illicit goods and services.

        :KHQODZHQIRUFHPHQWVKXWGRZQWKHIRXU':0¶VOLVWHGDERYHWKH\DOVR obtained images

        of their servers, and law enforcement has been able to mine the data from those sites for

        information about the customers and vendors who used them.

                b.      “Vendors” are the dark web’s sellers of goods and services, often of an illicit

        nature, and they do so through the creation and operation of “vendor accounts” on dark

        web marketplaces. Customers, meanwhile, operate “customer accounts.” Vendor and

        customer accounts are not identified by numbers, but rather monikers or “handles,” much

        like the username one would use on a clear web site. If a moniker on a particular

        marketplace has not already been registered by another user, vendors and customers can

        use the same moniker across multiple marketplaces, and based on seller and customer

        reviews, can become well known as “trusted” vendors or customers. It is also possible for

        the same person to operate multiple customer accounts and multiple vendor accounts at the

        same time. For example, based on my training and experience, I know that one person

        could have a vendor account that he or she uses to sell illegal goods on a dark web

        marketplace in exchange for cryptocurrency; that same vendor could also have a different

        customer account that he or she uses to exchange cryptocurrency earned from vendor sales

        for fiat currency 2. Because they are separate accounts, a person could use different



2
 Fiat currency is currency created and regulated by a government such as the U.S. Dollar, Euro, or Japanese
Yen.
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 accounts to send and receive the same cryptocurrency on the dark web. I know from

 training and experience that one of the reasons dark web vendors have multiple monikers

 for different vendor and customer accounts, is to prevent law enforcement from identifying

 which accounts belong to the same person, and who the actual person is that owns or uses

 the accounts.

        c.       The “Tor network,” or simply “Tor” (an abbreviation for “The Onion

 Router”), is a special network of computers on the Internet, distributed around the world,

 designed to conceal the true Internet Protocol (“IP”) addresses of the computers accessing

 the network, and, thereby, the locations and identities of the network’s users. Tor also

 enables websites to operate on the network in a way that conceals the true IP addresses of

 the computer servers hosting the websites, which are referred to as “hidden services” on

 the Tor network. Such hidden services operating on Tor have complex web addresses,

 generated by a computer algorithm, ending in “.onion” and can only be accessed through

 specific web browser software, including a browser known as “Tor Browser,” designed to

 access the Tor network. Examples of hidden services websites are the aforementioned

 AlphaBay and Hansa. Tor is available on cellphones using the Android and Apple

 operating systems by installing an application that puts a TOR-enabled internet browser on

 a user’s cellphone, which then routes the phone’s IP address through different servers all

 over the world, making it extremely difficult to track.

        d.       Cryptocurrency, a type of virtual currency, is a decentralized, peer-to peer,

 network-based medium of value or exchange that may be used as a substitute for fiat

 currency to buy goods or services or exchanged for fiat currency or other cryptocurrencies.

 Examples of cryptocurrency are Bitcoin, Litecoin, and Ether. Cryptocurrency can exist
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        digitally on the Internet, in an electronic storage device, or in cloud-based servers.

        Although not usually stored in any physical form, public and private keys (described

        below) used to transfer cryptocurrency from one person or place to another can be printed

        or written on a piece of paper or other tangible object. Cryptocurrency can be exchanged

        directly person to person, through a cryptocurrency exchange, or through other

        intermediaries. Generally, cryptocurrency is not issued by any government, bank, or

        company; it is instead generated and controlled through computer software operating on a

        decentralized peer-to-peer network. Most cryptocurrencies have a “blockchain,” which is

        a distributed public ledger, run by the decentralized network, containing an immutable and

        historical record of every transaction. 3 Cryptocurrency is not illegal in the United States.

                e.      Bitcoin 4 (“BTC”) is a type of cryptocurrency. Payments or transfers of

        value made with bitcoin are recorded in the Bitcoin blockchain and thus are not maintained

        by any single administrator or entity. As mentioned above, individuals can acquire bitcoin

        through exchanges (i.e., online companies which allow individuals to purchase or sell

        cryptocurrencies in exchange for fiat currencies or other cryptocurrencies), bitcoin ATMs,

        or directly from other people. Individuals can also acquire cryptocurrencies by “mining.”

        An individual can “mine” bitcoins by using his/her computing power to solve a

        complicated algorithm and verify and record payments on the blockchain. Individuals are

        rewarded for this task by receiving newly created units of a cryptocurrency. Individuals

        can send and receive cryptocurrencies online using many types of electronic devices,


3
  Some cryptocurrencies operate on blockchains that are not public and operate in such a way to obfuscate
transactions, making it difficult to trace or attribute transactions.
4
 Since Bitcoin is both a cryptocurrency and a protocol, capitalization differs. Accepted practice is to use
“Bitcoin” (singular with an uppercase letter B) to label the protocol, software, and community, and
“bitcoin” (with a lowercase letter b) to label units of the cryptocurrency. That practice is adopted here.
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   including laptop computers and smart phones. Even though the public addresses of those

   engaging in cryptocurrency transactions are recorded on a blockchain, the identities of the

   individuals or entities behind the public addresses are not recorded on these public ledgers.

   If, however, an individual or entity is linked to a public address, it may be possible to

   determine what transactions were conducted by that individual or entity.              Bitcoin

   transactions are therefore sometimes described as “pseudonymous,” meaning that they are

   partially anonymous. And while it’s not completely anonymous, Bitcoin allows users to

   transfer funds more anonymously than would be possible through traditional banking and

   credit systems.

          f.         &U\SWRFXUUHQF\LVVWRUHGLQDYLUWXDODFFRXQWFDOOHGDZDOOHW:DOOHWVDUH

   software programs that interface with blockchains and generate and/or store public and

   private keys used to send and receive cryptocurrency. A public key or address is akin to a

   bank account number, and a private key is akin to a PIN number or password that allows a

   user the ability to access and transfer value associated with the public address or key. To

   conduct transactions on a blockchain, an individual must use the public address (or “public

   key”) and the private address (or “private key.”) A public address is represented as a case-

   sensitive string of letters and numbers, 26–25 (35) characters long. Each public address is

   controlled and/or accessed through the use of a unique corresponding private key - the

   cryptographic equivalent of a password or PIN - needed to access the address. Only the

   holder of an address’ private key can authorize any transfers of cryptocurrency from that

   address to another cryptocurrency address.

          g.         Although cryptocurrencies such as Bitcoin have legitimate uses,

   cryptocurrency is also used by individuals and organizations for criminal purposes such as
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          money laundering and is an oft-used means of payment for illegal goods and services on

          hidden services websites operating on the Tor network. By maintaining multiple wallets,

          those who use cryptocurrency for illicit purposes can attempt to thwart law enforcement’s

          efforts to track purchases within the dark web marketplaces. As of October 27, 2021, one

          bitcoin is worth approximately $59,000.00, though the value of bitcoin is generally much

          more volatile than that of fiat currencies.

                  h.       Exchangers and users of cryptocurrencies store and transact their

          cryptocurrency in a number of ways, as wallet software can be housed in a variety of forms,

          including on a tangible, external device (“hardware wallet”), downloaded on a PC or laptop

          (“desktop wallet”), with an Internet-based cloud storage provider (“online wallet”), as a

          mobile application on a smartphone or tablet (“mobile wallet”), printed public and private

          keys (“paper wallet”), and as an online account associated with a cryptocurrency exchange.

          Because these desktop, mobile, and online wallets are electronic in nature, they are located

          on mobile devices (e.g., smart phones or tablets) or at websites that users can access via a

          computer, smart phone, or any device that can search the Internet. Moreover, hardware

          wallets are located on some type of external or removable media device, such as a USB

          thumb drive or other commercially available device designed to store cryptocurrency (e.g.

          Trezor, Keepkey, or Nano Ledger). In addition, paper wallets contain an address and a QR

          code 5 with the public and private key embedded in the code. Paper wallet keys are not

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          drives, or CDs, and accessed through a “recovery seed” (random words strung together in

          a phrase) or a complex password. Additional security safeguards for cryptocurrency


5
    A QR code is a matrix barcode that is a machine-readable optical label.
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        wallets can include two-factor authorization (such as a password and a phrase). I also know

        that individuals possessing cryptocurrencies often have safeguards in place to ensure that

        their cryptocurrencies become further secured in the event that their assets become

        potentially vulnerable to seizure and/or unauthorized transfer.

                i.      Bitcoin “exchangers” and “exchanges” are individuals or companies that

        exchange bitcoin for other currencies, including U.S. dollars. According to the Department

        of Treasury, Financial Crimes Enforcement Network (“FinCEN”) Guidance issued on

        March 18, 2013, virtual currency administrators and exchangers, including an individual

        exchanger operating as a business, are considered money services businesses. 6 Such

        exchanges and exchangers are required to register with FinCEN and have proper state

        licenses (if required under applicable state law). From my training and experience, I know

        that registered money transmitters are required by law to follow Bank Secrecy Act anti-

        money laundering (“AML”) regulations, “Know Your Customer” (“KYC”) protocols, and

        other verification procedures similar to those employed by traditional financial institutions.

        For example, FinCEN-registered cryptocurrency exchangers often require customers who

        want to open or maintain accounts on their exchange to provide their name, address, phone

        number, and/or the full bank account and routing numbers that the customer links to his/her

        exchange account.        As a result, there is significant market demand for illicit

        cryptocurrency-for-fiat currency exchangers, who not only lack AML or KYC protocols

        but often advertise their ability to offer customers stealth and anonymity. These illicit

        exchangers often exchange fiat currency for cryptocurrencies, such as by meeting


6
  See “Application of FinCEN’s Regulations to Person Administering, Exchanging, or Using Virtual
Currencies,” available at https://www.fincen.gov/resources/statutes-regulations/guiadance/application-
fincens-regulations-persons-administering.
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   customers in person or by shipping fiat currency through the mail. Due to the illicit nature

   of these transactions and their customers’ desire for anonymity, such exchangers are

   frequently able to charge a higher exchange fee, often as high as 9-10% (in contrast to

   registered and BSA-compliant exchangers, who may charge fees as low as 1-2%).

          j.      Some companies offer cryptocurrency wallet services which allow users to

   download a digital wallet application onto their smart phone or other digital device. A user

   typically accesses the wallet application by inputting a user-generated PIN code or

   password. Users can store, receive, and transfer cryptocurrencies via the application;

   however, many of these companies do not store or otherwise have access to their users’

   funds or the private keys that are necessary to access users’ wallet applications. Rather,

   the private keys are stored on the device on which the wallet application is installed (or any

   digital or physical backup private key that the user creates). As a result, these companies

   generally   cannot    assist   in   seizing    or   otherwise    restraining   their   users’

   cryptocurrency. Nevertheless, law enforcement could seize cryptocurrency from the user’s

   wallet directly, such as by accessing the user’s smart phone, accessing the wallet

   application, and transferring the cryptocurrency therein to a law enforcement-controlled

   wallet. Alternatively, where law enforcement has obtained the recovery seed for a wallet

   (see above), investigators may be able to use the recovery seed phrase to recover or

   reconstitute the wallet on a different digital device and subsequently transfer

   cryptocurrencies held within the new wallet to a law enforcement-controlled wallet.


                             PROBABLE CAUSE STATEMENT
                          SUMMARY OF THE INVESTIGATION
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16. On October 04, 2019 the Central Ohio Cyber Drug Taskforce (COCDTF) in Columbus,

   Ohio, consisting of investigators assigned to HSI, Drug Enforcement Administration

   (DEA), United States Postal Inspection Service (USPIS) and the Internal Revenue

   Service (IRS), executed a federal search warrant at a Columbus, Ohio Target’s residence,

   who was using an online moniker to purchase narcotics off the Darknet site Empire

   Market. Investigators found and seized computers, cypto-currency, U.S. currency,

   firearms, and controlled substances from the residence. Analysis of the Columbus

   Target’s Darknet Empire Market account, indicated that he had been communicating with

   and purchasing liquid psychedelic mushrooms from an online vendor using the Darknet

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17. 2SHQVRXUFHUHVHDUFKGHWHUPLQHGWKDW³75,3:,7+6&,(1&(´KDGRSHUDWHGRQVHYHUDO

   Darknet markets since approximately 2011, totaling over 17,000 transactions: Empire

   Market (4,719 transactions), Agora (1,500 transactions), Apollon Market (47

   transactions), Berlusconi Market (60 transactions), Cryptonia Market (199 transactions),

   Dream Market (6,400 transactions), Tochka Market (542 transactions), Hansa Market

   (567 transactions), Silk Road 2.0 (2,199 transactions) and Dark Market (823

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   RSHUDWHGRQ1LJKWPDUH0DUNHW$QGURPHGD0DUNHW$OSKD%D\6LON5RDG:DOO Street

   Market, Pandora, Black Market Reloaded, and numerous other small Darknet markets,

   but the number of transactions associated with those markets is unknown.

   ³75,3:,7+6&,(1&(´DGGLWLRQDOO\RSHUDWHGRQ0RQRSRO\7HOHYHQGDQG&DQQDKRPH

   Darknet marketplaces selling liquid psychedelic mushrooms in 9.0 milligram/gram vials

   IRUHDFK³75,3:,7+6&,(1&(´VSHFLILFDOO\VWDWHGKRZWRFRQVXPHWKH
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   controlled substance on his marketplace listings, verifying the controlled substance

   analogue is for human consumption.

18. From December 23, 2019 through November 20, 2020, HSI Columbus, with assistance

   from DEA and USPIS, conducted twelve (12) controlled liquid mushroom buys from

   ³75,3:,7+6&,(1&(´YLD(PSLUHDQG&DQQDKRPH0DUNHWV+6,&ROXPEXVSXUFKDVHG

   a total of approximately 545 grams of liquid psychedelic mushrooms during the twelve

   buys. HSI received and seized a U.S. Mail parcel associated with each buy containing

   suspected liquid psychedelic mushrooms. The Ohio Bureau of Criminal Investigation

   (BCI) Forensic Laboratory tested the contents of each parcel and determined them to be

   4-Acetoxy-N,N-Dimethyltryptamine (4-AcO-DMT). This controlled substance is an

   analogue of 4-Hydroxy-N,N-Dimethyltryptamine (liquid psychedelic mushrooms), a

   schedule I controlled substance.

19. On or about October 22, 2020, HSI Columbus received data from a seized Darknet

   Marketplace that contained 34 Bitcoin withdrawal wallet addresses for

   ³75,3:,7+6&,(1&(¶V´YHQGHUDFFRXQW8VLQJFU\SWRFXUUHQF\DQDO\VLVWUDFLQJD

   Coinbase wallet was discovered sending and receiving Bitcoin from

   ³75,3:,7+6&,(1&(¶V´ZLWKGUDZDOZDOOHWV$VXESRHQDZDVVHUYHGWR&RLQEDVHIRU

   the subscriber information and account history associated with the Coinbase customer

   conducting the bitcoin transactions. Coinbase subpoena returns revealed the user account,

   FUHDWHGRQ-DQXDU\EHORQJHGWR-DPHV%$5/2:

20. :KLOHUHYLHZLQJVHL]HG'DUNQHW0DUNHWSODFHGDWDIURP³75,3:,7+6&,(1&(´+6,

   6$VGLVFRYHUHGPHVVDJHVEHWZHHQ³75,3:,7+6&,(1&(DQG'DUNQHWPRQLNHU

   “DARKLOIS.” The messages identified “DARKLOIS” as a shill account created by
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   ³75,3:,7+6&,(1&(´WRSURPRWHKLVEXVLQHVVDQGFUHDWHWHVWVKLSPHQWVRQKLV

   account. Agents discovered a similar conversation between “DARKLOIS” and Darknet

   vendor “PERFECTSHROOMS,” the only other account “DARKLOIS” reviewed and

   interacted with. HSI Agents identified two additional shill Darknet buyer accounts,

   ³$33/(7,76´DQG³%277/(:+,6.(<6+/´EHLQJXVHGE\³75,3:,7+6&,(1&(´

   and “PERFECTSHROOMS” to promote their sales on multiple Darknet marketplaces

   including Hansa Market. “PERFECTSHROOMS” had listings on Televend, Monopoly

   and Cannahome marketplaces. The account had listings for 3.5 grams to 114 grams of

   “Organic Mushrooms” (Psilocybe Cubensis Shrooms) in capsule form. A February 14,

   2020 Established Vender Application stated PerfectShrooms had processed 7,800 orders

   on 15 different darknet marketplaces.

21. An investigative search conducted on the darknet website Empire Market for the vendor

   ³75,3:,7+6&,(1&(´UHYHDOHGDOLVWLQJIRU³/LTXLG0Xshrooms (Pure Psilocybin

   Extract).” The listing advertised vials of approximately 9mg of “Liquid Mushrooms” for

   $19.95 each. The listing allowed buyers to purchase in unlimited quantities/increments.

   7KLVVHDUFKUHYHDOHG³75,3:,7+6&,(1&(´ZKRZDVDFWLve on the market from

   December 3, 2018 through November 23, 2019, had completed 2,555 transactions. There

   ZHUHSRVLWLYHIHHGEDFNFRPPHQWVOHIWIRU³75,3:,7+6&,(1&(´GXULQJWKDWWLPH

   frame, which regularly commented on the quality of the product.

22. On November 30, 2020, HSI Special Agent Gregory Libow obtained a search warrant for

   WKH*RRJOHDFFRXQWRI-DPHV%$5/2:-,09%$5/2:#*0$,/&201XPHURXV

   items of evidentiary value were located indicating Rex TAYLOR is associated with the

   75,3:,7+6&,(1&('TO:
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A. 2Q$SULO%$5/2:HPDLOHG5H[7$</255(;7$</25#4&20DQ

   HPDLOWLWOHG³7KH'DUN,QWHUQHW´,QWKHHPDLO%$5/2:ZURWH³+DYH\RXKHDUGDERXW

   this? http://gawker.com/5805928/ In that article they mention bitcoins - it's like an

   anonymous version of cash you can send to anyone anywhere in the world. It's really

   FRRO´$FOHDUZHEVHDUFKRIWKHOLQNVHQWE\%$5/2:UHGLUHFWHGWRDQDUWLFOHWLWOHG

   ³7KH8QGHUJURXQG:HEVLWH:KHUH<RX&DQ%X\$Q\'UXJ,PDJLQDEOH´

B. On April 3, 2014, TAYLOR sent an email titled, “myco”. In the email TAYLOR wrote,

   “More pizza topping” and attached numerous images of TAYLOR holding and eating

   mushrooms. Rex TAYLOR sent an additional email titled, “Silly sighbin”. In the email

   TAYLOR wrote, “Those were the days” and attached numerous images of mushrooms

   growing in mason jars. “Silly sighbin” is believed to be slang for Psilocybin Mushrooms.

   METADATA????

C. 2Q-XO\%$5/2:UHFHLYHGDQHPDLOIURP&RLQEDVHWLWOHG³<RXMXVWVHQW

   BTC to Rex Taylor”. The content of the email stated, “Hi Jim B, You just sent 0.40 BTC

   (worth $250.22 USD) to Rex Taylor. Attached message: For week 1, July 14-20”. This

   SD\PHQWLVFRQVLVWHQWZLWKSD\PHQWV%$5/2:VHQW7$</25IRUKLVLQYROYHPHQWLQ

   WKH75,3:,7+6&,(1&('72 as detailed on a “1 Orderman BTC” payment sheet for

   payments to TAYLOR.

D. 2Q2FWREHU%$5/2:'523%2;#-,0%$5/2:1(7UHFHLYHGDQHPDLO

   from Dropbox titled, “Rex Taylor joined your shared folder”. The content of the email

   stated, “Hi Jim, Rex Taylor joined your shared folder ".lwt"!” Per records obtained

   GXULQJDVHDUFKZDUUDQWRI%$5/2:¶V'URSER[DFFRXQWWKHIROGHUDVVRFLDWHGZLWK

   ³OZW´FRQWDLQHGQXPHURXVGRFXPHQWVDVVRFLDWHGZLWKWKH75,3:,7+6&,(1&('72
Case: 2:21-mj-00702-KAJ Doc #: 1 Filed: 10/29/21 Page: 19 of 30 PAGEID #: 19




E. 2Q-DQXDU\%$5/2:VHQWDQHPDLOto Rex TAYLOR,

   5(;7$</25#4&20WLWOHG³/LQX[0LQWXVE´7KHFRQWHQWRIWKHHPDLOVWDWHG³,I

   you can get Linux Mint running from ANY usb stick, we can recreate everything. All of

   WKHQHFHVVDU\ILOHVZHUHEDFNHGXSLQWKH/:7IROGHU- right? So even if the original stick

   is toast, we didn't lose anything.”

F. 2Q$SULO%$5/2:UHFHLYHGDQHPDLOIURP'URSER[WLWOHG³5H[7D\ORUMRLQHG

   your shared folder”. The content of the email stated, “Hi Jim, Rex Taylor joined your

   shared folder "DNM-Files"!” DNM-Files are believed to be files associated with the

   GDUNQHWPDUNHWDFWLYLW\RI75,3:,7+6&,(1&(

G. 2Q0D\%$5/2:UHFHLYHGDQHPDLOWLWOHG³5HFHLSWIRU<RXU3D\PHQWWR

   )ODVK5RXWHUVFRP´IURP3D\SDOVHUYLFH#SD\SDOFRP7KHFRQWHQWRIWKHHPDLOVWDWed,

   “Shipping address – confirmed Rex Taylor 5011 N 2800 W Cedar City, UT 84721

   United States” for “PrivateInternetAccess Cisco Linksys E1200 DD-:57)ODVK5RXWHU

   Item# E1200-PIA-E1200-FLASH-SUPPORT-BASIC-3MONTH-90DAY”. Investigators

   know FlashRouters were SXUFKDVHGE\%$5/2:DQGVHQWWR'72PHPEHUVWRWKH

   locations DTO members facilitated their drug trafficking. FlashRouters were used to

   hide the true VPN of DTO members when processing orders from the darknet for the

   75,3:,7+6&,(1&('72

H. On October 15, 201%$5/2:VHQWDPHVVDJHWR7$</25³'RQ WNQRZLI\RX UHLQ

   cell range, but I'm taking care of orders today, so you're good until Saturday. Hope you're

   having fun!” TAYLOR replied, “I really appreciate it I'll catch things up on Saturday”.

I. On a screenshot image, saved as “Screenshot_20190618-102556”, a screenshot was

   saved of a list of things to do. The image listed, “tws NIGHTMARE order checks”,
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   “openbazaar listing”, “ob2 service restarter”, “where tochka $ going?????”, “email team

   about orderman 1 ordeal”, “spreadsheet Calc commission & currency”. Investigator’s

   NQRZ25'(50$1LVDPRQLNHUXVHGE\7$</257:6LVVKRUWIRU

   75,3:,7+6&,(1&(DQG75,3:,7+6&,(1&(VROGRQ1,*+70$5(DQG72&+.$

   darknet markets.

23. $OVRLQWKHUHFRUGVDVVRFLDWHGZLWK-,09%$5/2:#GMAIL.COM were multiple

   spreadsheets referencing Darknet marketplaces and bitcoin transactions believed to be

   VDOHVOHGJHUVIRU³75,3:,7+6&,(1&(´DQG³3(5)(&76+52206´,QDVSUHDGVKHHW

   titled “2015 TCS Accounting” were 9 tabs, 7 of the tabs were titled 2015 and contained

   known two letter abbreviations for darknet markets AlphaBay, Nucleus Market, Abraxas

   Market, MiddleEarth Marketplace, Evolution Market, Agora Market and Black Bank

   Market. A tab titled “2015 Received” appeared to list all 704 Darknet transactions from

   January 1, 2015 through December 9, 2015. A second spreadsheet titled “TCS

   Accounting.” showed tabs for each year from 2014 to 2021 and a summary tab. Each tab

   dated for a certain year showed a detail ledger. Many of the ledgers included references

   to Darknet marketplaces, bitcoin mixing services and drug transactions. The summary tab

   broke down each year’s net, average month, average day, and total bitcoins earned for the

   \HDU$WKLUGVSUHDGVKHHWWLWOHG³7:66DOHV6XPPDWLRQ´ZDVIRXQGE\Lnvestigators on

   %$5/2:¶V*RRJOH'ULYHLQDIROGHUQDPHG³'10´NQRZQE\ODZHQIRUFHPHQWWREH

   an abbreviation for Darknet Market. The spreadsheet showed a sales ledger for Liquid

   Mushrooms sold in July of 2014 on Silk Road, Agora and Evolution Darknet markets.

   7KHOHGJHUFODLPHGDWWKHWLPHWKH75,3:,7+6&,(1&('72ZDVDYHUDJLQJ

   orders a month and selling approximately 2,555 vials per month.
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24. 2Q$SULO-DPHV%$5/2:DQGDGGLWLRQDOFR-conspirators were arrested for

   warrants issued by the Southern District of Ohio for Conspiracy to Possess with Intent to

   Distribute Psychedelic Mushroom Analogue.

25. On April 29, 2021, a proffer session of a Cooperating Defendant, herein referred to as

   CD1, was held. During the proffer session, CD1 stated TAYLOR, AKA:

   “ORDERMAN1”, AKA: 1 ORDERMAN, AKA: ORDERMAN, was hired to assist

   KLPKHUZLWKWKH75,3:,7+6&,(1&('72&'VWDWHG7$</25ZRXOGVFUDSHRUGHUV

   from the darknet markets and send the labels and orders to the shippers to fill. CD1

   stated TAYLOR additionally grew mushrooms for the DTO from late 2015 or 2016 until

   2017. CD1 indicated he/she used these psilocybin mushrooms to create his liquid

   mushroom extract for sale. CD1 additionally stated TAYLOR had access to the

   75,3:,7+6&,(1&(GDUNQHWDFFRXQWVDQGWRWKHdarknet market withdraw wallets.

26. On May 5, 2021, Agent Libow reviewed darknet wallet addresses obtained from an

   HQFU\SWHGKDUGGULYHKLGGHQIROGHURQ-DPHV%$5/2:¶VFRPSXWHUVHL]HGGXULQJ

   %$5/2:¶VDUUHVWRQ$SULO6$/LERZUHYLHZHGDGRFXPHQWVDYHGDV³2UGHUPDQ

   BTC” in folder employee>payments>archived. The “1 Orderman BTC” document

   contained multiple items of evidentiary value detailing amounts of packages/vials

   shipped and transactions paid to TAYLOR each month for his involvement in the

   75,3:,7+6&,(1&(DQG3(5)(&76+52206'72VThe ledger represented

   SD\PHQWVIURP75,3:,7+6&,(1&(3(5)(&76+52206'72VWR7$</25IURP

   December 2014 through June 2019 and totaled 172.839600 BTC in payments. The 172

   BTC is currently valued at approximately $10,500,000. The funds paid to TAYLOR on

   the ledger included his salary and miscellaneous payments for “Thumb Drive
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   Reimbursement”, “vials shipped”, “days scraping”, and other involvement by TAYLOR

   to further his drug trafficking for the DTO. The ledger is not believed to be all inclusive

   and is not believed to include all packages and vials shipped by TAYLOR, nor orders

   TAYLOR scraped from darknet markets to process orders for other drug shippers. Agent

   /LERZZDVDEOHWRUHYLHZDQDGGLWLRQDOVSUHDGVKHHWORFDWHGRQ%$5/2:¶VFRPSXWHU

   which calculated WKHDYHUDJHVDOHVSHUGD\PRQWKRIWKH75,3:,7+6&,(1&(DQG

   PERFECTSHROOMS DTOs. Investigators were able to determine TAYLOR worked

   DSSUR[LPDWHO\PRQWKVIRUWKH75,3:,7+6&,(1&('72LQZKLFKWKHPHPEHUVZHUH

   responsible for approximately 2,335 kilograms of drugs trafficked. Additionally,

   investigators were able to determine TAYLOR worked approximately 16 months for the

   PERFECTSHROOMS DTO in which members were responsible for approximately 134

   kilograms of drugs trafficked.

27. The “1 Orderman BTC” document specifically detailed a payment on May 15, 2017 to

   TAYLOR, labeled “Orderman May 15 Salary”, for $1,200/.68 BTC to address

   (T/'+H/6MFXWMDSJXTM:1;38.M7E+7KLVOHGJHUIXUWKHUOLVWHGWKH%LWFRLQ

    %7& DGGUHVV)DH(JQ+Z;XY]=JIJ:'66$7XDE'G7&SDWWULEXWed to TAYLOR.

   On June 8, 2021, Gemini Trust Company, LLC was served Subpoena IB-21-301798 for

   the subscriber information and account history of the user associated with the Gemini

   Trust Company account associated with wallet address

   )DH(JQ+Z;XY]=JIJ:'SSATuabDdTCp. On June 17, Gemini Trust Company,

   LLC subpoena returns revealed the wallet address

   )DH(JQ+Z;XY]=JIJ:'66$7XDE'G7&SZDVDWWULEXWHGWR*HPLQL7UXVW&RPSDQ\

   user Rex TAYLOR. Subpoena returns further showed TAYLOR received 0.6801092
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   BTC on MD\WRDGGUHVV(T/'+H/6MFXWMDSJXTM:1;38.M7E+YLD

   transaction hash

   8a679bb2b0356c7d3cb65cec45bb987469a570128db78d9c542f5ca1a6a04172. This

   transaction is congruent with the transaction detailed in the “1 Orderman BTC” payment

   ledger. Records showed during the life of the account, TAYLOR deposited

   15.56043304 BTC into the account and withdrew $123,832.67. Many of the transactions

   were similar to amounts / payment dates as the transactions detailed on the “1 Orderman

   BTC” sheet. The returns fXUWKHUOLVWHGWKHHPDLODGGUHVV5(;7$</25#4&20

28. On June 4, a proffer session of a second Cooperating Defendant, herein referred to as

   &'ZDVKHOG'XULQJWKHSURIIHUVHVVLRQ&'DGPLWWHGLQ%$5/2:DVNHGKLV

   uncle, Rex TAYLOR, to be an “orderman”&'H[SODLQHGKHVKHDQG%$5/2:ZHQW

   WR7$</25¶VUHVLGHQFHLQ8WDKZKHUH%$5/2:WDXJKW7$</25DQG&'KRZWREH

   D³VKLSSHU´DQGDQ³RUGHUPDQ´IRUWKH75,3:,7+6&,(1&('72&'VWDWHG

   %$5/2:FUHDWHGDVSUHDGVKHHWV\VWHPWRORJRUGHUVRUGHUSUREOHPVDmounts of drugs

   VHQWSURILWVDQGPDUNHWDFFHVVLQIRUPDWLRQ&'VWDWHG%$5/2:ZHQWWR8WDK

   QXPHURXVWLPHVWRIL[7$</25¶VFRPSXWHU&'VWDWHG%$5/2:ZRXOGDOVRUHPRWH

   into TAYLOR and his/her computer when they had computer related issues. CD2 stated

   around 2016 to 2018, TAYLOR continued to be an “orderman”. CD2 stated they

   believed once TAYLOR made enough money to purchase an airplane from his drug

   HDUQLQJVZLWK75,3:,7+6&,(1&(KHVWHSSHGDZD\IURPWKH'72&'LQGLFDWHG

   “ORDERMAN” or “ORDERMAN1” was a moniker used by TAYLOR for the

   75,3:,7+6&,(1&('72&'VWDWHGDQ³RUGHUPDQ´ZDVSDLGDSSUR[LPDWHO\

   to $4,000 a month depending on the number of days worked. CD2 stated an “orderman”
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   would be responsible for handling customer disputes on the markets and would

   occasionally speak with the darknet market moderators.

29. On August 5, a proffer session of a third Cooperating Defendant, herein referred to as

   &'ZDVKHOG&'VWDWHGDIWHU-DQXDU\RIKHVKHDQG0DWWKHZ%$5/2:

   received customers' order details and addresses from TAYLOR and would mix and ship

   the drugs in priority mail envelopes and stamps. CD3 stated when he/she and Matthew

   %$5/2:EHJDQZRUNLQJIRU75,3:,7+6&,(1&(7$</25DQGDQRWKHULQGLYLGXDO

   were the only employees that were currentO\ZRUNLQJIRUWKH75,3:,7+6&,(1&('72

   CD3 informed investigators that they believed in July of 2019, TAYLOR stopped

   ZRUNLQJIRUWKH'72VDQGKHVKHDQG0DWWKHZ%$5/2:WRRNRYHU7$</25¶VMRERI

   downloading orders from Darknet Marketplaces.

30. On August 31, a proffer interview of a fourth Cooperating Defendant, herein referred to

   as CD4, was conducted. CD4 told investigators that Rex TAYLOR was an "orderman"

   and indicated sometime during the first quarter of 2018, trained CD4 to perform that job.

31. On October 6, HSI Special Agent (SA) Libow conducted blockchain analysis on bitcoin

   SD\PHQWDGGUHVVHVXVHGE\WKH75,3:,7+6&,(1&('72LQFOXGLQJWKHELWFRLQ %7& 

   wallet bc1qd6sqv05v67njrzqxvv7xryptgc2mycs0wsus5q named “share dividends

   orderman1” which was found on JaPHV%$5/2:¶VKLGGHQ6,1.GULYHIROGHU7KH

   “share dividends orderman1” wallet is believed to belong to TAYLOR, AKA:

   ORDERMAN1. Blockchain analysis showed TAYLOR received continual “shared

   GLYLGHQG´SD\PHQWVIURPWKH75,3:,7+6&,(1&('72XQWLOWKHFR-conspirator arrests

   on April 21, 2021.
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32. On May 10, 2021, a “share dividends orderman1” wallet sent the .10833 BTC to another

   wallet address where it was combined with an additional 8.76378 BTC, valued at

   approximately $504,063.71, which came from several wallets which also received their

   IXQGVIURP:DVDEL0L[HU$VRI2FWREHUWKH%7&UHPDLQVLQWKH

   second wallet. Investigators believe TAYLOR is likely in control of the funds contained

   in the second wallet containing 8.87211 BTC.

33. On October 13, an arrest warrant was issued by the Honorable Chelsey M. Vascura for

   TAYLOR in the United States District Court for the Southern District of Ohio for: 21

   U.S.C. Section 841 - Knowingly or intentionally attempt to manufacture, distribute, or

   dispense, or possess with intent to manufacture, distribute, or dispense a controlled

   substance and 21 U.S.C Section 846 - Attempt and conspiracy to commit an act in

   violation of 21 U.S.C. Section 841. On October 19, TAYLOR was arrested.

34. On October 20, a telephone interview was conducted with TAYLOR. During the

   interview TAYLOR explained to investigators that in 2014 he was down on his luck and

   EHJDQZRUNLQJIRUWKH75,3:,7+6&,(1&( 7:6 GUXJWUDIILFNLQJRUJDQL]DWLRQ

   (DTO). TAYLOR stated that he agreed to work for the DTO under the condition that they

   RQO\VHOOSVLORF\ELQPXVKURRPV7$</25VWDWHGWKDWKHZRUNHGIRUWKH7:6'72

   IURPXQWLOODWH7$</25VDLGWKDWRQFHKHVWRSSHGZRUNLQJIRU7:6KH

   continued to receive small dividend payouts in Bitcoin. TAYLOR stated that he noticed

   the payments disappeared approximately six months ago.

35. Records were obtained from Gemini Trust Company, LLC for the account of TAYLOR.

   Records showed TAYLOR last logged into his account on October 5, 2021 from IP

   address 199.167.89.65. Records show TAYLOR’s account holds a balance of
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   1.25178654 BTC worth approximately $71,264. Records further showed TAYLOR’s

   account previously had two deposits from Hydra Marketplace and two deposits “with

   medium paths” from Dream Market and Agora darknet marketplaces.


   LAUNDERING OF NARCOTICS PROCEEDS AND ANALYSIS OF
   CRYPTOCURRENCY INTO THE SUBJECT ACCOUNT

36. 7UDQVDFWLRQVRQ':0VVXFKDVWKRVHGHVFULEHGin this affidavit are conducted through

   the use of cryptocurrency, primarily Bitcoin, in order to facilitate anonymity. Proceeds

   IURPWUDQVDFWLRQVRQ':0VDUHGHSRVLWHGWRDFRPPRQZDOOHWZLWKLQWKH':0NQRZQ

   DVD³KRWZDOOHW´DQGDYDLODEOHEDODQFHVDUHWUDFNHGZLWKLQHDFKXVHUDFFRXQW:KHQD

   YHQGRUZDQWVWRZLWKGUDZIXQGVIURPWKH':0he/she withdraws Bitcoin from his/her

   ':0³DFFRXQW´WRD%LWFRLQDGGUHVVZLWKLQKLVKHUFRQWURO%LWFRLQIURPWKHKRWZDOOHW

   is then transferred to the address indicated by the vendor. These financial transactions,

   conducted with the proceeds of illegal narcotics sales, were executed with the knowledge

   that it would conceal the nature, source, and origin, of such proceeds, constituting money

   laundering transactions under 18 U.S.C. § 1956.

37. To obtain fiat value from cryptocurrency, it must be exchanged from Bitcoin to the

   individual’s fiat currency of choice (e.g., USD, GBP, or some denomination). This

   transformation of value occurs at cryptocurrency exchanges, such as Gemini, Celsius,

   Binance, Kraken, BlockFi, or other like exchanges, which are money services businesses

   (MSBs). In order to use an exchange, an individual must create an account at the

   exchange and then send Bitcoin, or other form of cryptocurrency, from an address they

   control to an address associated with their account at the cryptocurrency exchange. The

   individual could then withdraw funds from the cryptocurrency exchange to their bank of

   choice; alternately, it could be exchanged for other forms of cryptocurrency (e.g.,
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   Ethereum, Litecoin, etc.). Conducting financial transactions with the proceeds of illegal

   narcotics sales with the knowledge that it would conceal their nature, source, and origin,

   e.g., converting pseudonymous bitcoin proceeds into seemingly legitimate fiat currency,

   constitutes money laundering under 18 U.S.C. § 1956.

38. Because of the nature of how bitcoin is transferred between addresses, tracing a bitcoin

   transaction is akin to tracking a serialized dollar through the financial system. As a result,

   it is impractical to employ traditional tracing methods to complex, multi-hop bitcoin

   transactions. Instead, bitcoin flow analysis shows the overall path of where bitcoin came

   from prior to reaching a certain wallet or address. So, while the activity may not be

   directly traceable at the transactional level, it can often be indirectly traced back to an

   origin wallet or address. Because every bitcoin transaction is entered into the public

   blockchain ledger, investigators can use historical blockchain analysis to determine

   which origin wallets belong to bitcoin addresses well-known to law enforcement, such as

   ':0V HJ6LON5RDG+DQVDHWF H[FKDQJHV HJCelsius, Binance, Kraken,

   BlockFi, etc.), or peer-to-peer exchange platforms (e.g., LocalBitcoins :DOOHWVDQG

   addresses that belong to unknown individuals, however, are far more difficult to identify.

39. After conducting blockchain analysis, investigators believe the Gemini Trust Company,

   LLC identified is controlled by Rex TAYLOR. A portion of the funds deposited into the

   wallet appeared to originate from darknet markets and mixing services used to mask the

   transfer funds.

40. 9HU\IHZLIDQ\RIWKHSURGXFWVVHUYLFHVEHLQJVROGRQ':0VDUHOHJDO HJ

   contraband such as heroin) or are being sold legally (e.g., illegal sales of prescription

   GUXJV 7KHUHIRUHELWFRLQVEHLQJZLWKGUDZQIURPWKH':0¶VUHSUHVHQWVSURFHHGVRI
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   illegal activity in nearly every instance. Because the bitcoins being withdrawn from the

   ':0¶VFRQVLVWDOPRVWHQWLUHO\RIFULPLQDOSURFHHGV,VXEPLWWKHUHLVSUREDEOHFDXVHWR

   seize the 1.25178654 BTC remaining in TAYLOR’s Gemini Trust Company, LLC

   account.


                                     SEALING REQUEST


41. It is respectfully requested that the Court issue an order sealing, until further order of the

   Court, all papers submitted in support of the requested seizure warrant, including the

   application, this affidavit, and the requested search warrant. I believe that sealing these

   documents is necessary because the information to be seized is relevant to an ongoing

   investigation. Premature disclosure of the contents of the application, this affidavit, and

   the requested seizure warrant may adversely affect the integrity of the investigation,

   including giving TAYLOR a chance to destroy evidence or take other steps to hinder the

   investigation. Furthermore, because of the confidential nature of law enforcement

   analysis techniques disclosed herein, sealing is critical. Dark web vendors and other

   criminals in the dark web space frequently search the internet for legal process that

   describes current law enforcement techniques for tracing cryptocurrency and identifying

   dark web vendors. As a result, sealing this request is critical for countless ongoing

   investigations around the country.




                                                   Special Agent Gregory Libow
                                                   Homeland Security Investigations
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Sworn to before me on
October _________,
          ___
           29       2021




_______________________________________
THE HONORABLE KIMBERLY A. JOLSON
UNITED STATES MAGISTRATE JUDGE
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                                   ATTACHMENT A

All funds— including crypto-currency—stored in the Gemini Account associated to Account ID
61668, Group ID 1061668.
